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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 1:21-cv-4289
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 ORBCOMM INC., JEROME B.                                    :   SECTIONS 14(a) AND 20(a) OF THE
 EISENBERG, MARC J. EISENBERG,                              :   SECURITIES EXCHANGE ACT OF
 MARCO FUCHS, DENISE GIBSON,                                :   1934
 KAREN GOULD, TIMOTHY KELLEHER,                             :
 and JOHN MAJOR,                                            :   JURY TRIAL DEMANDED
                                                            :
                   Defendants.                              :
 --------------------------------------------------------   :



        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against ORBCOMM Inc. (“ORBCOMM or

the “Company”) and the members ORBCOMM board of directors (the “Board” or the “Individual

Defendants” and collectively with the Company, the “Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), in connection with

the proposed acquisition of ORBCOMM by GI Partners (“GI Partners”) and its affiliates.

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A

(the “Proxy Statement”) to be filed on May 10, 2021 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders.                           The Proxy
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Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby GI DI Orion Merger Sub Inc. (“Merger Sub”), a wholly owned subsidiary of GI DI Orion

Acquisition Inc., an affiliate of GI Partners (“Parent”), will merge with and into ORBCOMM with

ORBCOMM surviving the merger and becoming a wholly owned subsidiary of Parent (the

“Proposed Transaction”). Pursuant to the terms of the definitive agreement and plan of merger the

companies entered into (the “Merger Agreement”) each ORBCOMM common share issued and

outstanding will be converted into the right to receive $11.50 in cash (the “Merger Consideration”).

       3.       As discussed below, Defendants have asked ORBCOMM stockholders to support

the Proposed Transaction based upon the materially incomplete and misleading representations

and information contained in the Proxy Statement, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Proxy Statement contains materially incomplete and misleading

information concerning the Company’s financial forecasts and financial analyses conducted by the

financial advisors of the Company, PJT Partners LP (“PJT”) in support of its fairness opinion, and

relied upon by the Board in recommending the Company’s stockholders vote in favor of the

Proposed Transaction.

       4.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to ORBCOMM stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.




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                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because ORBCOMM’s proxy solicitor, Morrow Sodali

LLC, financial advisor, PJT, and legal advisor, Milbank LLP, are all headquartered in this District.

Moreover, GI Partners maintains an office in this District.

                                              PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of ORBCOMM common

stock and has held such stock since prior to the wrongs complained of herein.

        10.      Individual Defendant Jerome B. Eisenberg has served as a member of the Board

since 2001.

        11.      Individual Defendant Marc J. Eisenberg has served as a member of the Board since

2002 and is the Company’s Chief Executive Officer.

        12.      Individual Defendant Marco Fuchs has served as a member of the Board since

2001.

        13.      Individual Defendant Denise Gibson has served as a member of the Board since

October 2018.


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        14.     Individual Defendant Karen Gould has served as a member of the Board since June

2018.

        15.     Individual Defendant Timothy Kelleher has served as a member of the Board since

March 2008.

        16.     Individual Defendant John Major has served as a member of the Board since April

2007.

        17.     Defendant ORBCOMM is incorporated in Delaware and maintains its principal

offices at 395 W. Passaic Street, Rochelle Park, New Jersey 07662. The Company’s common

stock trades on the NASDAQ Stock Exchange under the symbol “ORBC.”

        18.     The defendants identified in paragraphs 10-16 are collectively referred to as the

“Individual Defendants” or the “Board.”

        19.     The defendants identified in paragraphs 10-17 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction

        20.     ORBCOMM provides Internet of Things solutions in the United States, South

America, Japan, Europe, and internationally. The Company offers network connectivity, devices,

device management, and web reporting applications that are designed to track, monitor, control,

and enhance security for various assets, such as trailers, trucks, rail cars, sea containers, power

generators, fluid tanks, marine vessels, diesel or electric powered generators, oil and gas wells,

pipeline monitoring equipment, irrigation control systems, and utility meters in transportation and

supply chain, heavy equipment, fixed asset monitoring, and maritime industries, as well as for

governments. It also provides satellite automatic identification service data services to assist in

vessel navigation and to enhance maritime safety for government and commercial customers; and


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vehicle fleet management, as well as in-cab and fleet vehicle solutions using various network

platforms, including its own constellation of low-earth orbit satellites and accompanying ground

infrastructure, as well as terrestrial-based cellular communication services through reseller

agreements with various cellular wireless providers. In addition, the Company offers customer

solutions utilizing additional satellite network service options through service agreements with

third party mobile satellite providers; and resells service using the two-way Inmarsat plc satellite

network to provide higher bandwidth. It markets and sells its products and services directly to

original equipment manufacturers, government customers, and end-users, as well as indirectly

through market channel partners and affiliates. ORBCOMM was founded in 1993 and is

headquartered in Rochelle Park, New Jersey.

       21.     On April 8, 2021, ORBCOMM announced that they had entered into a proposed

transaction:

       ROCHELLE PARK, N.J., April 08, 2021 (GLOBE NEWSWIRE) -- ORBCOMM
       Inc. (Nasdaq: ORBC), a global provider of Internet of Things (IoT) solutions, today
       announced that it has entered into a definitive agreement to be acquired by GI
       Partners, a leading US-based investor in data infrastructure businesses, in an all-
       cash transaction that values ORBCOMM at approximately $1.1 billion, including
       net debt.

       Under the terms of the agreement, ORBCOMM stockholders will receive $11.50
       in cash per outstanding share of common stock upon closing of the transaction,
       representing a premium of approximately 52% to ORBCOMM’s closing share
       price on April 7th and a 50% premium over the 90-day volume-weighted average
       share price through that date.

       The investment by GI Partners will support ORBCOMM’s strong momentum in
       the industrial IoT as it increases its investment in sales, marketing and technology
       innovation to accelerate growth, execute on its long-term strategic plan and global
       market expansion, and provide added flexibility as a privately-held company.

       “This transaction will provide immediate and substantial value to ORBCOMM
       stockholders, reflecting the tremendous commitment and work of our employees
       and stakeholders. The partnership with GI Partners will provide us the opportunity
       to rapidly advance our long-term strategy,” said Marc Eisenberg, ORBCOMM’s



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Chief Executive Officer. “GI Partners has an established track record of working
with companies to accelerate growth, and we look forward to continuing to drive
innovation, providing world-class service to our global customers and expanding
our market share in the industrial IoT as a privately held company.”

“ORBCOMM has a long history of innovation, providing mission-critical services
to customers across the global logistics landscape and a broad range of other
industries,” said Mark Prybutok, Managing Director of GI Partners. “We are
excited to work with the ORBCOMM team to take the business forward as IoT use
cases continue to evolve and grow.”

ORBCOMM’s Board of Directors has unanimously approved the transaction and
recommends that ORBCOMM’s stockholders vote in favor of the transaction at the
special meeting of ORBCOMM stockholders to be called in connection with the
transaction. A special meeting of ORBCOMM’s stockholders will be held as soon
as practicable following the filing of a definitive proxy statement with the U.S.
Securities and Exchange Commission (SEC) and subsequent mailing to its
stockholders.

Transaction Details

The transaction is expected to close following the satisfaction of customary closing
conditions, including approval by ORBCOMM stockholders and the receipt of
required regulatory approvals.

Consistent with the Board’s commitment to maximizing stockholder value, under
the terms of the definitive merger agreement, ORBCOMM and its representatives
may actively solicit and consider alternative acquisition proposals during a 30-day
“go-shop” period that will expire on May 7, 2021. ORBCOMM has the right to
terminate the definitive merger agreement with GI Partners to enter into a superior
proposal subject to certain terms and conditions of the definitive merger agreement.
There can be no assurance that this process will result in a superior proposal, and
ORBCOMM does not intend to disclose developments with respect to the
solicitation process unless and until it determines such disclosure is appropriate or
is otherwise required.

The parties expect the transaction to close in the second half of 2021. Subject to
and upon completion of the transaction, ORBCOMM will become a privately-held
company and its common stock will no longer be listed on the Nasdaq Stock
Market.

PJT Partners and Raymond James are acting as financial advisors to ORBCOMM,
and Milbank LLP is acting as legal counsel. Evercore is acting as financial advisor
to GI Partners, and Simpson Thacher & Bartlett LLP and Morgan, Lewis & Bockius
LLP are acting as legal counsel.




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       22.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that ORBCOMM’s stockholders are provided with the material information that has

been omitted from the Proxy Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       23.     On May 10, 2021, ORBCOMM filed the Proxy Statement with the SEC in

connection with the Proposed Transaction. The Proxy Statement was furnished to the Company’s

stockholders and solicits the stockholders to vote in favor of the Proposed Transaction. The

Individual Defendants were obligated to carefully review the Proxy Statement before it was filed

with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning ORBCOMM Financial Projections

       24.     The Proxy Statement fails to provide material information concerning financial

projections by ORBCOMM management and relied upon by PJT in its analysis. The Proxy

Statement discloses management-prepared financial projections for the Company which are

materially misleading. The Proxy Statement indicates that in connection with the rendering of its

fairness opinion, that the Company prepared certain non-public financial forecasts (the “Company

Projections”) and provided them to the Board and the financial advisors with forming a view about

the stand-alone valuation of the Company. Accordingly, the Proxy Statement should have, but fails

to provide, certain information in the projections that ORBCOMM management provided to the


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Board and the financial advisors. Courts have uniformly stated that “projections … are probably

among the most highly-prized disclosures by investors. Investors can come up with their own

estimates of discount rates or [] market multiples. What they cannot hope to do is replicate

management’s inside view of the company’s prospects.” In re Netsmart Techs., Inc. S’holders

Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       25.     For the Company Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: Adjusted EBITDA (Pre-SBC),

Adjusted EBITDA (Post-SBC), and Levered Free Cash Flow, but fails to provide line items used

to calculate these metrics and/or a reconciliation of these non-GAAP metrics to their most

comparable GAAP measures, in direct violation of Regulation G and consequently Section 14(a).

       26.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       27.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the



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               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.1

       28.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measure to the most comparable

GAAP measure to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning PJT’s Financial Analysis

       29.     With respect to PJT’s Selected Precedent M&A Transactions Analysis for the

Company, the Proxy Statement fails to disclose the individual multiples and metrics for the

transactions observed by PJT in the analysis.

       30.     With respect to PJT’s Discounted Cash Flow Analysis for the Company, the Proxy

Statement also fails to disclose: (i) the projected terminal values for the Company; (ii) the

Company’s unlevered free cash flows for the period from March 31, 2021 through December 31,

2030; (iii) the inputs and assumptions underlying the use of perpetuity growth rates of 2.5% to

4.5%; (iv) the inputs and assumptions underlying the range of discount rates ranging from 9.0% to

10.0%, (v) the Company’s weighted average cost of capital.

       31.     The Proxy Statement fails to disclose the reason why PJT did not conduct a selected

companies analysis, which is crucial to determine how public markets might value the target

company and for the financial advisor to determine an appropriate valuation multiple for the

company.




1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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          32.   In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          33.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          34.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          35.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial

analysis that were prepared by PJT and relied upon by the Board in recommending the Company’s

stockholders vote in favor of the Proposed Transaction.




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       36.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

       37.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

       38.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act




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          39.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          40.   The Individual Defendants acted as controlling persons of ORBCOMM within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of ORBCOMM, and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the incomplete and misleading statements contained in the Proxy

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of ORBCOMM, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          41.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          42.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of ORBCOMM, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Proxy Statement.

          43.   In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger




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Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       44.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       45.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       46.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

       B.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

       C.      Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;


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          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.




 Dated: May 12, 2021                                MELWANI & CHAN LLP

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